Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 1 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 2 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 3 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 4 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 5 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 6 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 7 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 8 of 37
Case 09-11973-DHS   Doc 1    Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                            Petition Page 9 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 10 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 11 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 12 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 13 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 14 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 15 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 16 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 17 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 18 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 19 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 20 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 21 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 22 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 23 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 24 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 25 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 26 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 27 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 28 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 29 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 30 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 31 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 32 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 33 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 34 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 35 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 36 of 37
Case 09-11973-DHS   Doc 1 Filed 01/29/09 Entered 01/29/09 13:35:24   Desc
                         Petition Page 37 of 37
